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       UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                                           CCO-041
                                      No. 22-8007

                    COMMONWEALTH OF PENNSYLVANIA,
                     PENNSYLVANIA GAME COMMISSION,
                                 Petitioner

                                             v.

         THOMAS E. PROCTOR HEIRS TRUST, under Declaration of Trust
         dated October 28, 1980, which is recorded in Sullivan County in Book
                    1106, at page 879, its successors and assigns,
                                       Respondent

                            (M.D. Pa. No. 1-12-cv-01567)

Present: AMBRO, GREENAWAY Jr. and PHIPPS, Circuit Judges

      1. Petition for Permission to Appeal under 28 U.S.C. Section 1292(b) filed by
         Petitioner Pennsylvania Game Commission

      2. Response filed by Respondent Thomas E Proctor Heirs Trust



                                                           Respectfully,
                                                           Clerk/lmr

_________________________________ORDER________________________________
The foregoing motion is granted.


                                                           By the Court,

                                                           s/Joseph A. Greenaway, Jr.
                                                           Circuit Judge

Dated: March 24, 2022
JK/cc: All Counsel of Record


                            A True Copy :

                                                                                        A True Copy :



                                                                                               Marcia M . Waldron, Clerk




                                 Patricia S. Dodszuweit, Clerk
